     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1293 Page 1 of 10



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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES,                                        Case No.: 17-CR-145 DMS
12                                       Plaintiff,
                                                           ORDER ON REQUEST FOR
13   v.                                                    INDICATIVE RULING AND
                                                           DENYING MOTION FOR
14   CHRISTIAN CLEWS,
                                                           SENTENCE MODIFICATION
15                                    Defendant.           UNDER 18 U.S.C. § 3582(C)
16
17         Pending before the Court is Defendant Christian Clews’s request for an indicative
18   ruling on a motion for sentence modification under the First Step Act. Plaintiff United
19   States of America filed a response and Defendant filed a reply. Defendant also filed
20   supplemental briefing. For the following reasons, Defendant’s motion is denied.
21                                                    I.
22                                        BACKGROUND
23         Defendant is currently incarcerated at FCI Seagoville, following his convictions for
24   distribution of images of minors engaged in sexually explicit conduct in violation of 18
25   U.S.C. § 2252(a)(2) and possession of images of minors engaged in sexually explicit
26   conduct in violation of 18 U.S.C. § 2252(a)(4)(B). (Judgment, ECF No. 104.) His crimes
27   include distributing child pornography depicting children being subjected to bondage,
28   sadism, and bestiality, (id. at ¶ 177), and collecting images of the same dating back to 2001.

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                                                                                      17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1294 Page 2 of 10



 1   (Id. at ¶¶ 6, 13.) Defendant also produced child pornography on at least two occasions with
 2   two different minors.
 3          Prior to incarceration, Defendant lived on a ranch in San Diego, California. The
 4   Amended Pre-Sentence Report details allegations against Defendant of sexual assault and
 5   harassment of minors at the ranch over many years. (See, e.g., APSR at ¶¶17-28.)
 6   Considering Defendant’s conduct, personal history and characteristics, and other relevant
 7   sentencing factors, the Court originally sentenced Defendant to 210 months in custody
 8   (Judgment, ECF No. 104), but later re-sentenced Defendant to 168 months after he retained
 9   new counsel and successfully challenged some of the allegations leveled against him by
10   the Government and in the presentence report. (Amended Judgment, ECF No. 158.) On
11   June 21, 2019, Defendant filed a notice of appeal of his sentence to the Ninth Circuit. His
12   opening brief is due on July 22, 2020. (ECF No. 162.)
13          Defendant is 55-years old and suffers from chronic obstructive pulmonary disease
14   (COPD), hypertension, and has a history of diabetes. (Def’s Mot., ECF No. 174, at 1.)
15   These conditions are considered by the Centers for Disease Control and Prevention
16   (“CDC”) to increase an individual’s risk for severe illness from COVID-19. See CENTERS
17   FOR   DISEASE CONTROL    AND   PREVENTION, Groups at Higher Risk for Serious Illness,
18   http://cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html.
19   As of June 28, 2020, the Bureau of Prisons (“BOP”) confirmed that 46 inmates have tested
20   positive for COVID-19 at FCI Seagoville. (Def’s Third Supp. Doc, ECF No. 179, at 1.)
21   Defendant is currently scheduled to be released on December 31, 2029.
22          Due to the spread of COVID-19 in his facility and his underlying health conditions,
23   Defendant now requests that the Court modify his sentence under 18 U.S.C. § 3582(c) and
24   convert his 168-month sentence to time-served, with a term of supervised release to include
25   home detention as a condition. Because his appeal is pending before the Ninth Circuit,
26   Defendant requests the Court make an indicative ruling under Rule 37(a) of the Federal
27   Rules of Criminal Procedure. The Court respectfully declines to do so and instead denies
28   the motion.

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                                                                                   17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1295 Page 3 of 10



 1                                                 II.
 2                                          DISCUSSION
 3      A. Federal Rule of Criminal Procedure 37(a)
 4         Federal Rule of Criminal Procedure 37(a) provides that where a timely motion is
 5   filed with the district court while an appeal is pending the court may: “(1) defer considering
 6   the motion; (2) deny the motion; or (3) state either that it would grant the motion if the
 7   court of appeals remands for that purpose or that the motion raises a substantial issue.” As
 8   noted, Defendant requests that the Court issue an indicative ruling under the third option
 9   and find that his motion raises substantial issues. If the third option is employed, “[t]he
10   movant must promptly notify the circuit clerk” and invite the Ninth Circuit to remand the
11   case and allow the district to decide the motion. See Fed. R. Crim. P. 37(b), (c). However,
12   if the court concludes the defendant is not entitled to relief, as here, it may deny the motion
13   under Rule 37(a)(2). See United States v. Furaha, --- F. Supp. 3d ---, 2020 WL 2315640,
14   at *3 (N.D. Cal. May 8, 2020).
15      B. 18 U.S.C. § 3582(c)
16         In general, a court may not modify a sentence once imposed, unless expressly
17   permitted by statute or Rule 35 of the Federal Rules of Criminal Procedure. United States
18   v. Penna, 319 F.3d 509, 511 (9th Cir. 2003). The First Step Act (“FSA”) now permits a
19   court to modify a prison sentence. See Pub L. 115-391, 132 Stat. 5194, 5239 (2018).
20   Among the criminal justice reforms implemented by the FSA, Congress amended 18
21   U.S.C. § 3582(c)(1)(A) to allow the defendant to move the district court for compassionate
22   release after exhausting the Bureau of Prison (“BOP”) process.
23         Section 3582(c) of Title 18 of the United States Code provides that a district “court
24   may not modify a term of imprisonment once it has been imposed except … upon motion
25   of the Director of the Bureau of Prisons, or upon motion of the defendant.” A defendant
26   may bring a § 3582(c) motion only after he has “fully exhausted all administrative rights
27   to appeal a failure of the Bureau of Prisons” to act, or after “the lapse of 30 days from the
28   receipt of such a request by the warden of the defendant’s facility, whichever is earlier.”

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                                                                                      17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1296 Page 4 of 10



 1   18 U.S.C. § 3582(c)(1)(A). Administrative exhaustion is therefore a prerequisite to filing
 2   the motion in district court, and “[e]xhaustion occurs when the BOP denies a defendant’s
 3   application or lets thirty days pass without responding to it.” United States v. Mondaca,
 4   No. 89-cr-0655-DMS, 2020 WL 1029024, at *2 (S.D. Cal. Mar. 3, 2020) (internal
 5   quotation marks and citations omitted). Thereafter, the Court may consider the applicable
 6   factors set out in § 3553(a) and determine whether “extraordinary and compelling reasons”
 7   warrant a sentence reduction consistent with “applicable policy statements issued by the
 8   Sentencing Commission.”
 9         Here, Defendant filed a request for sentence modification with the Warden on March
10   25, 2020. (App. 1 to Def’s Mot.) The request was denied on April 10, 2020. (App. 2 to
11   Def’s Mot.) Defendant then filed an administrative appeal on April 22, 2020, which was
12   denied on May 13, 2020. (App. 3-4 to Def’s Mot.) There is no dispute Defendant has
13   exhausted his administrative remedies under § 3582(c)(1)(A) and the Court may address
14   the motion.
15         The FSA allows a district court to modify a sentence and grant a reduction or release
16   if it finds that “extraordinary and compelling reasons” warrant such relief, the relief
17   complies with 18 U.S.C. § 3553(a), and the defendant “is not a danger to the safety of any
18   other person or to the community[.]” See 18 U.S.C. § 3582(c)(1)(A); United States
19   Sentencing Guidelines (“U.S.S.G”) § 1B1.13. As the moving party, Defendant bears the
20   burden of establishing he is eligible for a sentence reduction. See United States v. Jones,
21   836 F.3d 896, 899 (8th Cir. 2016).
22         1. Extraordinary and Compelling Reasons
23         Defendant argues he is eligible for sentence modification for extraordinary and
24   compelling reasons because his underlying health conditions make him particularly
25   vulnerable to COVID-19. (Def’s Mot. at 6.) Defendant contends it is inevitable the number
26   of positive cases at FCI Seagoville will continue to rise, thus placing his life in danger.
27   (Def’s Third Supp. Doc, ECF No. 179, at 1) (noting the number of confirmed cases for
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                                                                                   17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1297 Page 5 of 10



 1   COVID-19 at FCI Seagoville as of June 28, 2020 was 46, representing an increase of 42
 2   cases over a three-day period).
 3         A defendant may show that extraordinary and compelling reasons exist if he or she
 4   is “suffering from a serious physical or mental condition,” among other conditions. See
 5   U.S.S.G § 1B1.13, cmt n.1(A)(i)–(ii). Here, Defendant is 55-years old, and suffers from
 6   chronic obstructive pulmonary disease (COPD), hypertension, and has a history of
 7   diabetes—all comorbidities that increase the risks associated with COVID-19. (Def’s Mot.
 8   at 1.) While these conditions may not be terminal or serious on their own, they could be
 9   deadly when combined with COVID-19. See United States v. Hendler, No. 19-CR-1183
10   (DMS) (S.D. Cal. June 1, 2020) (finding COVID-19 pandemic relevant to analysis under
11   the FSA where the defendant has a chronic medical condition that elevates the risk of
12   serious illness or death). The Government acknowledges that Defendant “presents a risk
13   factor identified by the CDC as heightening the risk of severe injury or death were he to
14   contract COVID-19,” (Opp’n at 5), but contends his health conditions are well-controlled
15   and FCI Seagoville is not experiencing an outbreak of COVID-19 cases.1               Given
16   Defendant’s supplemental filings and indication that an outbreak at the facility appears to
17   be underway, the Court assumes Defendant has shown extraordinary and compelling
18   reasons for compassionate release. However, Defendant fails to meet his burden to
19   demonstrate that he is not a danger to others or the community under § 3142(g) and that
20   the § 3553(a) factors weigh in favor of release.
21         2. Danger to Others or the Community
22         Even where extraordinary and compelling reasons exist, the court must consider
23   whether the defendant is “a danger to the safety of any other person or to the community,
24   as provided in 18 U.S.C. § 3142(g)[.]” U.S.S.G. § 1.B1.13(1)(A), (2) cmt. n. 1. To make
25   this assessment, the Court is directed to the factors set out in § 3142(g), including, among
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     1In response, Defense counsel notes they do not have all of Defendant’s medical records.
28   (Reply Br. at 1-3.)
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                                                                                    17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1298 Page 6 of 10



 1   other things: (1) the nature and circumstances of the offense charged; (2) the history and
 2   characteristics of the person, including character, physical and mental condition, family
 3   ties, employment, financial resources, past conduct, criminal history, and drug and alcohol
 4   abuse; and (3) the nature and seriousness of the danger to any person or the community
 5   that release would impose. These factors are addressed in turn and overlap with the §
 6   3553(a) factors.
 7                a. Nature and Circumstances of the Offense Charged
 8         The Government contends the nature and circumstances of the offense charged
 9   weigh against release, noting Defendant’s crime involved the possession of over 47,000
10   images of child pornography, including “sadistic conduct and bestiality involving young
11   children,” as well as distribution of images of young children through his cellular phone.
12   (Opp’n at 6.) Moreover, the Government notes Defendant abused his position of authority
13   at his family’s ranch to sexually exploit minors who spent time there over the course of
14   almost 25 years, including by producing child pornography with two different minors on
15   two separate occasions. (Id. at 5-6.)
16         Indeed, unlike other instances in which this Court has granted compassionate
17   release, Defendant’s crimes and relevant conduct are very different. See, e.g., United States
18   v. Mondaca, 2020 WL 1029024 at *4 (granting motion for compassionate release where
19   defendant was convicted of non-violent drug offense for conspiracy to possess cocaine with
20   intent to distribute). Although Defendant contends the Government “ignore[s] the lengthy
21   time he spent on pre-trial release without incident” and “implicitly suggests his life is not
22   worth protecting,” (Reply Br. at 3), neither of those arguments undercuts the disturbing
23   nature of Defendant’s crimes for possession and distribution of large volumes of sadistic
24   child pornography images over many years. Further, the undisputed relevant conduct
25   attributed to Defendant includes production of child pornography with two different minors
26   on two separate occasions. That conduct reveals predation on the part of Defendant which
27   raises significant public safety concerns.        The first factor weighs decidedly against
28   releasing Defendant.

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     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1299 Page 7 of 10



 1                  b. History and Characteristics of the Person
 2            “The history and characteristics of a defendant include his or her ‘character, physical
 3   and mental condition, family ties, employment, financial resources, community ties, past
 4   conduct, criminal history, and drug and alcohol abuse.’” Mondaca, 2020 WL 1029024, at
 5   *4 (quoting United States v. Spears, 2019 WL 5190877, at *4 (D. Or. Oct. 15, 2019)).
 6   Defendant has not provided any evidence of his history and characteristics that weigh in
 7   favor of his release, aside from pointing to his satisfactory performance while on pre-trial
 8   supervision and model prisoner status with no disciplinary infractions while in custody.
 9   (Def’s Mot. at 20.) These points are significant and are to be credited. Defendant also
10   displayed genuine remorse and insight into the crimes he committed at his re-sentencing.
11   Nevertheless, Defendant’s history is deeply troubling. Defendant has not undergone sex
12   offender treatment while in custody, let alone started it. (Opp’n at 7.) That treatment is
13   essential to rehabilitation and fully evaluating Defendant’s demonstrated tendency to prey
14   on minor females. The second factor, therefore, weighs decidedly against releasing
15   Defendant.
16                  c. Nature and Seriousness of Danger Posed by Release
17            Finally, Defendant contends there is little danger posed by his potential release
18   because he was on pre-trial supervision for one year after his arrest without incident. (Def’s
19   Mot. at 20.) Moreover, Defendant notes if released, he would be placed on home detention
20   with GPS monitoring, and thus would not pose a danger to others or the community. (Id.)
21   The Government correctly points out that Defendant “proposes being released to the same
22   residence, living with the same people, where he committed his offense conduct.” (Opp’n
23   at 7.)
24            Defendant argues the Court should follow United States v. Curtis, where the district
25   court granted a sentencing modification for a defendant serving a life sentence for sex
26   trafficking minors, finding that although the crimes committed were “heinous,” the
27   defendant’s vulnerability to the spread of COVID-19 weighed in favor of changing the
28   sentence to time-served. (Def’s Mot. at 22) (citing United States v. Curtis, No. 03-CR-533

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     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1300 Page 8 of 10



 1   BAH, 2020 WL 1935543 (D.D.C. Apr. 22, 2020)). Curtis is distinguishable. There, the
 2   defendant had already served 17 years of a life sentence, suffered from multiple sclerosis,
 3   loss of 85% of his vision, was unable to walk, and required assistance with all aspects of
 4   daily living. Curtis, 2020 WL 1935543, at *2. As a result of those conditions, Curtis was
 5   confined to a bed or wheelchair. As such, the court concluded that he was no longer a
 6   danger to any person or the community. Id. at 5.
 7         In contrast, there are no facts here indicating that Defendant would be physically
 8   unable to engage in the same predatory conduct he engaged in before, let alone the
 9   relatively sedentary offenses of possession and distribution of child pornography. Though
10   Defendant argues he would remain at home and pose no danger to the community, much
11   of the conduct attributed to Defendant for which he is presently incarcerated occurred from
12   the comfort of his home. He possessed, distributed and produced child pornography at,
13   from and on his ranch. GPS monitoring would not prevent the recommission of similar
14   crimes in the future. Indeed, other district courts have concluded similarly situated
15   defendants should not be released to home confinement because of the risk of reoffending.
16   See, e.g., United States v. Mitchell, 2020 WL 2770070, at *3 (E.D. Cal. May 28, 2020)
17   (denying § 3582 motion for 72-year old defendant with history of lung disease and high
18   blood pressure, who had been convicted of receiving child pornography); United States v.
19   Feiling, No. 3:19-CR-112 (DJN), 2020 WL 1821457, at *8 (E.D. Va. Apr. 10, 2020)
20   (denying motion for defendant convicted of possession of child pornography in part
21   because he committed the offense at home, “meaning a term of home confinement would
22   be less likely to protect the public); United States v. Miezin, No. 1:13-CR-15, 2020 WL
23   1985042, at *5 (N.D. Ohio Apr. 27, 2020) (denying motion for defendant convicted of
24   receiving and distributing child pornography in part because “[i]n today’s society with
25   smartphones, tablets, laptops, smart TVs, and countless other devices, it would not be
26   possible to place [defendant] in home confinement and eliminate his ability to engage in
27   his prior criminal conduct.”).
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                                                                                   17-CR-145 DMS
     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1301 Page 9 of 10



 1         Finally, Defendant contends he would not be a danger to society because he has been
 2   a model prisoner with no disciplinary infractions and the BOP has classified him as “having
 3   the ‘MINIMUM’ recidivism risk level.” (Def’s Mot. at 20, App:8.) However, Defendant’s
 4   crimes relate to child pornography. “There are no children in prison; thus [Defendant’s]
 5   conduct while incarcerated in no way establishes that he is no longer a danger to the
 6   community, especially its young and vulnerable members.” United States v. Asmodeo,
 7   2020 WL 3268530, at *3 (S.D.N.Y. June 17, 2020). The Court also declines to ascribe any
 8   significance to the BOP’s “minimum” recidivism risk level classification. Defendant
 9   mentions the classification in one sentence without further explanation. The classification
10   assessment is dated November 4, 2019, shortly after Defendant was re-sentenced and
11   before sex offender treatment initiated. Given that a sentence of home confinement would
12   return Defendant to the place where he committed his earlier crimes, Defendant fails to
13   meet his burden that he would no longer be a danger to others or the community.
14         3. Section 3553(a) Factors
15         Section 3553(a) provides that the sentencing court must impose a sentence that is
16   “sufficient, but not greater than necessary … (A) to reflect the seriousness of the offense,
17   to promote respect for law, and to provide just punishment for the offense; (B) to afford
18   adequate deterrence to criminal conduct; (C) to protect the public from further crimes of
19   the defendant; and (D) to provide the defendant with needed educational or vocational
20   training, medical care, or other correctional treatment in the most effective manner[.]” 18
21   U.S.C. § 3553(a)(2)(A)-(D). The Court also must consider, among other factors, “the
22   nature and circumstances of the offense and the history and characteristics of the
23   defendant” and the “need to avoid unwarranted sentence disparities among defendants with
24   similar records who have been found guilty of similar conduct.”
25         These factors weigh against releasing Defendant. Many of the factors overlap with
26   the § 3142(g) factors discussed above, including the seriousness of the offense, protection
27   of the public, and history and characteristics of the defendant. Because those factors were
28   discussed above, they will not be addressed here.

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     Case 3:17-cr-00145-DMS Document 180 Filed 06/30/20 PageID.1302 Page 10 of 10



 1         The need for punishment and promoting respect for law are important considerations
 2   under § 3553. Defendant was sentenced to 168 months and has served fewer than two
 3   years of his sentence. “To so dramatically reduce the sentence in light of the current public
 4   health crisis would neither be just nor promote respect for the law; if anything, it would
 5   promote disrespect for the law.” See Asmodeo, 2020 WL 3268530, at *3 (denying motion
 6   for compassionate release where defendant was sentenced to 180 months for sexual
 7   exploitation of children and granting release would cut defendant’s sentence by “nearly
 8   two-thirds”). Although Defendant contends a sentence of home confinement is not the
 9   same as release, (Def’s Mot. at 21), Defendant has only served a “small fraction” of his
10   sentence and has not yet undergone sex offender treatment. (Opp’n at 7.) Providing
11   Defendant with “needed … correctional treatment” serves the important goal of
12   rehabilitation. Accordingly, Defendant fails to meet his burden to demonstrate that the §
13   3553(a) factors weigh in favor of sentence modification.
14                                               III.
15                                CONCLUSION AND ORDER
16         For the foregoing reasons, Defendant’s motion is denied.
17   IT IS SO ORDERED.
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19   Dated: June 30, 2020
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